Case 5:21-cv-02392-BLF Document 76-2 Filed 11/21/22 Page 1 of 7




                EXHIBIT 1
11/15/22, 2:43 PM          Case 5:21-cv-02392-BLF Document   76-2
                                                     Buy XRP with CreditFiled
                                                                        or Debit 11/21/22
                                                                                 Card • Nexo Page 2 of 7



    Buy XRP in Seconds
    Buy XRP quickly аnd securely via card or bank transfer. Start with as little as $10.

          Get up to 0.5% back                                       No hidden fees

          Excellent market prices                                   SEPA, Faster Payments, and SWIFT




        Pay


            $1,000                                                                                                         USD


        Receive

            2,594.15                                                                                                        XRP


                                                           1 XRP ≈ $0.39


                                                                 Buy XRP

        Buy via card or bank transfer




                  XRP XRP
       $0.38534
            9.28% ($0.03)                                                                        1H    4H   1D   7D   1M    1Y    ALL


       $0.4074


       $0.3983


       $0.3891


       $0.38


       $0.3709


       $0.3618


       $0.3526


       02:47 PM             07:34 PM     12:21 AM     05:08 AM         09:55 AM




        Market Stats
        Market Rank
        7

                                                                                                                  Chat with an Expert
        Market Cap

https://nexo.io/buy-crypto/ripple-xrp                                                                                                    1/6
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        $19.36B


        24H Volume
        $2.49B


        24H High
        $0.39826


        All-Time High
        $3.40


        Circulating Supply
        50,232,406,634




    XRP Price Performance
    The current XRP price is $0.38534 as in the last 24 hours its value has risen by 9.28%. XRP is down 88.66% from its all-time high of
    $3.40. XRP ranks number 7 in terms of market capitalization, representing 2.19% of the entire crypto market. XRP is a decentralized
    currency, which means you can buy, sell, and exchange it without having to rely on traditional monetary systems.




                                         Why Nexo Is the Right Place to Buy XRP




                                   Buy Instantly                                                    Start with Just $10
            Buy XRP with card in 7 seconds. Secure wire transfers are also   Start with as little as $10 or go up to $15,000 – including fees, if any.
                                     accepted.




                              Get Excellent Prices                                                       Stay Secure
              Get the most cost-efficient price across the top 10 crypto     Benefit from a top-tier $775M insurance secured by Nexo’s trusted
                              exchanges worldwide.                                                       custodians.




                                                  How to Buy XRP
                                                                                                                                Chat with an Expert

https://nexo.io/buy-crypto/ripple-xrp                                                                                                                    2/6
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                                           Once you open your Nexo account
                                           and verify your identity, then you
                                           have to:




                                            1    Select Payment Option
                                           Select the "Add Funds" option on your
                                           Dashboard and tap on "Credit/Debit
                                           Card".


                                                Buy XRP




                                                                                                      Chat with an Expert

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                                                                        or Debit 11/21/22
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                                           What Can You Do with Your XRP?

        Exchange Seamlessly                                               Borrow Instantly

        Swap any asset for XRP with lightning speed and no price          Borrow funds from 0% APR without selling your XRP with
        fluctuation on Nexo’s Crypto Exchange.                            Nexo’s Instant Crypto Credit Lines.




        Spend Without Selling                                             Boost Your Profits

        Spend the value of your XRP without selling it, all while         Leverage against your XRP to acquire up to 3x more of your
        getting up to 2% back in crypto rewards.                          desired crypto with the Nexo Booster.




        Send XRP

        Make free, instant XRP transfers to all your friends, family or
        colleagues as long as they have a Nexo account.




                                                                      FAQs
                                   Find answers to all your questions about buying XRP on Nexo.



        How to buy XRP instantly with card?




        How to buy XRP via bank transfer?




        What’s the minimum amount of XRP you can buy?




        How to get up to 0.5% in crypto rewards on your XRP purchases?




        How does Nexo protect my XRP?




        Browse Other Assets                                                     Top Movers     Recently Added    Closest
                                                                                                                   Chat Market
                                                                                                                           with Cap
                                                                                                                                an Expert


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                                                                                 Card • Nexo Page 6 of 7

                  FTX Token                                         44.63%         dYdX                                 -12.74%
                  FTT                                                 $1.90        DYDX                                   $2.34


                  Chiliz                                             11.22%        XRP                                    9.28%
                  CHZ                                              $0.21616        XRP                                $0.38534


                  Lido DAO                                           8.06%         Compound                               7.87%
                  LDO                                                 $1.19        COMP                                  $41.62




                                                                Ready to Start?
                                        Buy, swap and borrow against your XRP instantly and securely on Nexo.


                                                                        Buy XRP




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                                                                                  Card • Nexo Page 7 of 7
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